                  IN THE DISTRICT COURT OF THE UNITED STATES
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                                  3:03CR231-15


UNITED STATES OF AMERICA                        )
                                                )
       v.                                       )          ORDER
                                                )
LEOPOLDO HERNANDEZ ARCADIA                      )
                                                )


       THIS MATTER IS BEFORE THE COURT on defendant Leopoldo Hernandez Arcadia’s

Motion for Immediate Sentencing and Waiver of Delays [doc. 529].

       For cause shown the motion is granted.

       IT IS HEREBY ORDERED that sentencing is scheduled for Thursday, February 2, 2006,

at 10:30 am.

       SO ORDERED.                              Signed: January 24, 2006




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